

People v Alcantara (2020 NY Slip Op 05767)





People v Alcantara


2020 NY Slip Op 05767


Decided on October 14, 2020


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on October 14, 2020
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

REINALDO E. RIVERA, J.P.
JOHN M. LEVENTHAL
JOSEPH J. MALTESE
BETSY BARROS, JJ.


2013-05239
 (Ind. No. 97/13)

[*1]The People of the State of New York, respondent,
vCirilo Alcantara, appellant.


Cirilo Alcantara, Dannemora, NY, appellant pro se.
Michael E. McMahon, District Attorney, Staten Island, NY (Thomas B. Litsky of counsel), for respondent.
Paul Skip Laisure, New York, NY (Tammy E. Linn of counsel), former appellate counsel.



DECISION &amp; ORDER
Application by the appellant for a writ of error coram nobis to vacate, on the ground of ineffective assistance of appellate counsel, a decision and order of this Court dated March 29, 2017 (People v Alcantara, 148 AD3d 1179), determining an appeal from a judgment of the Supreme Court, Richmond County, rendered May 10, 2013.
ORDERED that the application is denied.
The appellant has failed to establish that he was denied the effective assistance of appellate counsel (see Jones v Barnes, 463 US 745; People v Stultz, 2 NY3d 277).
RIVERA, J.P., LEVENTHAL, MALTESE and BARROS, JJ., concur.
ENTER:
Aprilanne Agostino
Clerk of the Court








